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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

MICHAEL A. WOOD,

Petitioner, : Case No. 3:19-cv-304

- VS - District Judge Walter H. Rice
Magistrate Judge Michael R. Merz

TIM BUCHANAN, Warden,
Noble Correctional Institution,

Respondent.

 

RECOMMITTAL ORDER

This habeas corpus case is before the Court on Petitioner’s Objections (ECF No. 30) to the
Magistrate Judge’s Report and Recommendations (ECF No. 17).

The District Judge has preliminarily considered the Objections and believes they will be
more appropriately resolved after further analysis by the Magistrate Judge. Accordingly, pursuant
to Fed. R. Civ. P. 72(b)(3), this matter is hereby returned to the Magistrate Judge with instructions
to file a supplemental report analyzing the Objections and making recommendations based on that

analysis.

Dated: GT-1B+r.Y8 .

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Walter H. Rice
United States District Judge
